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                EXHIBIT A
               UNDER SEAL
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION


  ALEXIS LEAH FREEMAN GIBSON as                  Case No. 5:23cv5118-TLB
  Ancillary Personal Representative of the
  ESTATE OF WYATT GARY GIBSON,
  Deceased and ALL WRONGFUL
  DEATH BENEFICIARIES,                           Complaint Filed: July 12, 2023
                          Plaintiffs,
        vs.
  CONSUMER TESTING
  LABORATORIES, INC., UL
  VERIFICATION SERVICES, INC.,
  EARTHBOUND LICENSING, LLC,
  EARTHBOUND, LLC, EARTHBOUND
  PW LLC, ROBERT BURGESS d/b/a
  BURGESS GROUP a/k/a BOB
  BURGESS AND ASSOCIATES,
  MELISSA METCALFE, MANE USA,
  INC., GALA NORTH AMERICA, INC.,
  and JOHN DOES 1-10,
                          Defendants.

      PLAINTIFFS’ SUR-REPLY TO GALA NORTH AMERICA INC.’S
           MOTION TO DISMISS AND MOTION TO STRIKE
             PLAINTIFFS’ FIRST AMENDED COMPLAINT

       COME NOW ALEXIS LEAH FREEMAN GIBSON as Ancillary Personal

 Representative of the ESTATE OF WYATT GARY GIBSON, Deceased and ALL

 WRONGFUL DEATH BENEFICIARIES (“Plaintiffs”), by and through

 undersigned counsel, and for their Sur-Reply to Gala North America Inc.’s

 (“GALA”) Motion to Dismiss and Motion to Strike Plaintiffs’ First Amended

 Complaint, state and allege as follows:




                                           [1]
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 I.    INTRODUCTION

       Plaintiffs file this Sur-Reply in order to provide the Court with additional

 evidence which will assist the Court in resolving the issues raised in the briefing on

 GALA’s Motion to Dismiss and Motion to Strike Plaintiffs’ First Amended

 Complaint (“Motion to Dismiss”). That evidence includes a contract produced by

 Defendant Robert Burgess d/b/a Burgess Group a/k/a Bob Burgess and Associates

 (“Burgess Group”) between Burgess Group and the entity which Plaintiffs believe

 to be GALA’s predecessor company. That evidence also includes emails and

 documents that were designated “confidential” when produced by non-parties Flora

 Classique, Inc. (“Flora”) and Walmart Inc. (“Walmart”) in the related California

 action, and which are therefore protected from disclosure to this Court under the

 California protective order. 1 Plaintiffs, however, have conferred with Flora and

 Walmart, and both non-parties have consented to the filing of those emails and

 documents in this Court under seal. The evidence submitted herewith, together with

 the evidence submitted with Plaintiffs’ Opposition to GALA’s Motion to Dismiss,

 demonstrates that GALA is subject to personal jurisdiction in this case.




 1
   Under the California protective order, “[a] Receiving Party may use Protected
 Material that is disclosed or produced by another Party or by a Non-Party in
 connection with th[e California] Action only for prosecuting, defending, or
 attempting to settle th[e California] Action.” Gibson v. Walmart Inc., et al., No. 5:22-
 cv-00238, Doc. 68 at ¶ 7.1 (C.D. Cal. Jan. 20, 2023).

                                           [2]
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 II.    PROCEDURAL HISTORY AND STATEMENT OF FACTS

        On September 5, 2023, Defendant GALA filed its Motion to Dismiss (Docs.

 65-66). On September 19, 2023, Plaintiffs filed their Opposition to GALA’s Motion

 to Dismiss (Doc. 78). On September 28, the Court granted GALA leave to file a

 Reply in support of its Motion to Dismiss, and GALA filed its Reply and a

 supporting declaration from its corporate representative, Mr. Gino Biondi (Docs. 89,

 90). At the September 28 Case Management Hearing, the Court heard argument on

 GALA’s Motion to Dismiss and instructed all parties to confer on an agreed transfer

 of this action to the Central District of California. On October 30, 2023 the parties

 filed their Joint Status Report regarding the parties’ positions on a potential transfer

 to the Central District of California pursuant to the Court’s October 3, 2023 text

 order (Docs. 94, 105). As of the date of this Sur-Reply, less than all parties have

 consented to transfer of this action to the Central District of California, and GALA’s

 Motion to Dismiss remains pending.

 III.   PLAINTIFFS’ ADDITIONAL EVIDENCE

        A. Walmart Documents (Exhibits 1-5)

        Attached hereto as Exhibits 1-5, are the documents and communications

 described in the table below, which were produced by Walmart in the California

 action. Exhibits 1-5 include Walmart documents and communications that show that

 GALA and its employees were involved in the sale, distribution, and supply of the



                                           [3]
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 products at issue in this action to Arkansas-based Walmart and that that they also

 were involved in product development and conducting business directly with various

 Arkansas-based entities and individuals in the process, as Plaintiffs assert in their

 Opposition (Doc. 78 at pp. 7-14).



  Ex. Bates Range           Description

   1    WM-GIBSON-          Walmart’s November 16, 2021 report to the US

        1452-1458           Consumer Product Safety Commission (“CPSC”)

                            identifying: (1) “Flora Classique Inc.” as the importer of

                            the Aromatherapy Product at issue and (2) “GALA

                            North America Inc.” of Dublin, Virginia as Flora

                            Classique Inc.’s parent company.

   2    WM-GIBSON-          A “Corrective Action Plan” for the CPSC signed on

        2170-2176           behalf of Walmart stating that the Aromatherapy

                            Product at issue was “imported in multiple shipments by

                            Ramesh Flowers Pvt. Ltd. or Flora Classique, Inc. of

                            Wildomar, California and its parent company Gala

                            Group of Dublin, Virginia.”

   3    WM-GIBSON-          November 2021 emails regarding a meeting between

        3870-3874           “Walmart Leadership” and “GALA Group Leadership”

                                          [4]
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                          in Bentonville, Arkansas regarding the recall of the

                          Aromatherapy Product at issue, which lists Gino Biondi

                          as CEO of “GALA North America.”

   4    WM-GIBSON-        A November 2021 email sent to Gino Biondi and Mark

        3898-3899         Cunnigham (“Director of Sales, North America for

                          GALA-GROUP, N.A.” (see Doc. 78-8)) regarding the

                          “Red Incident” that was trigged for the facility where the

                          Aromatherapy Product at issue was manufactured.

   5    WM-GIBSON-        A June 2021 email from Marty Oliver (“Director of

        3928-3929         Business Development - Gala NA” (see Doc. 78-9))

                          attaching a spreadsheet pertaining to “Gala NA”

                          products sold by Walmart.



       B. Burgess Group Documents (Exhibits 6-10)

       Attached hereto as Exhibit 6 is a contract produced with Defendant Burgess

 Group’s October 16, 2023 Supplemental Initial Disclosures. Exhibit 6 is a copy of

 the “Outside Sales Representative Agreement” between “KORONA CANDLE Inc.”

 of Dublin, Virginia and “Burgess Group” of Bentonville, Arkansas (the

 “Agreement”). The Agreement was signed in December of 2018 by Mark

 Cunningham, who is listed as “Director of Sales, N. America” for KORONA


                                        [5]
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 CANDLE, Inc. (Ex. 6 at p 6). Per the Agreement, Arkansas-based Burgess Group

 acted as an “outside sales representative” for KORONA candle and fragrance

 products beginning in December of 2018, and could earn incentives for selling

 KORONA products to Walmart (Ex. 6 at pp 1-10).2

          Attached hereto as Exhibit 7 is a copy of a corporate disclosure statement filed

 by “Gala North America, Inc. a.k.a. Korona Candles Inc.” in connection with a

 federal court case in the Western District of Virginia. The corporate disclosure

 statement appears to have been signed on September 16, 2020 by Mr. Biondi on

 behalf of “Gala North America, Inc.” (Ex. 7).

          Attached hereto as Exhibit 8 is a press release from Equistone, which states

 that GALA Kerzen acquired Korona Candles S.A. in the first half of 2018 (Ex. 8 at

 p. 1). The press release further states that Korona Candles S.A. was “based in

 Poland,” “and also ha[d] a production site in Dublin, Virginia in the USA” (Ex. 8 at

 p. 1).

          Attached hereto as Exhibit 9 is the corporate organizational chart filed by

 GALA in support of its Motion to Dismiss, which shows that “GALA Poland Sp.

 z.o.o.,” a Polish subsidiary of GALA GROUP GmbH, is the parent company of

 “GALA North America Inc.” (Ex. 9 at p. 2).


 2
  Plaintiffs note that Defendant GALA has not served initial disclosures in this action
 nor produced a copy of the Agreement produced by Burgess Group.

                                             [6]
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       Attached hereto as Exhibit 10 is Defendant Burgess Group’s Supplemental

 Initial Disclosures, which state that Burgess Group intends to rely on “[e]mails and

 correspondences between the Burgess Group, Gala North America, Inc, Gala Group

 and/or Korona Candle Inc., and Walmart Inc. related to the request for proposal, bid

 process and preproduction approval for the subject product” in support of its claims

 and defenses, in addition to the contract attached hereto as Exhibit 6. Burgess Group,

 however, has not yet supplemented its Initial Disclosures to provide the

 aforementioned emails and correspondence.

       Taken together, Exhibits 6-10 strongly suggest that Defendant GALA is one

 of the GALA GROUP GmbH subsidiaries (see Ex. 9 at p. 2) that was significantly

 involved in selling the Aromatherapy Product at issue, as well as other “KORONA”

 (i.e., “GALA Group”) fragrance and candle products, to Arkansas-based Walmart.

 To wit, the corporate disclosure statement, Equistone press release, and corporate

 organizational chart strongly suggest that Dublin, Virginia-based Defendant GALA

 is the successor company to the Dublin, Virgina-based KORONA entity that

 contracted Burgess Group to act as the sales representative for “KORONA,” and

 later “GALA Group” products, including the Aromatherapy Product at issue.

 Moreover, Defendant Burgess Group’s intent to rely on its correspondence with

 Defendant GALA related to “preproduction approval” and the “bid process”




                                          [7]
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 suggests that Defendant GALA was involved in product development for the

 Aromatherapy Product at issue.

        Plaintiffs note that targeted jurisdictional discovery would allow Plaintiffs to

 confirm what the various documents and statements referenced above strongly

 suggest and respectfully reiterate their request for alternative relief in the form of a

 grant of leave to conduct limited jurisdictional discovery and a deferred ruling on

 GALA’s Motion to Dismiss, pending the completion of jurisdictional discovery (see

 Doc. 76 at pp. 4, 12, 43-44; Doc. 78 at pp. 6, 17, 40).

      C. Flora Classique Documents (Exhibits 11-31)

       Attached hereto as Exhibits 11-31, are the documents and communications

 described in the table below, which were produced by Flora in the California action.

 Exhibits 11-31 include numerous emails and attachments that show that Defendant

 GALA and its employees were involved in the sale, distribution, and supply of the

 products at issue in this action to Arkansas-based Walmart and that that they also

 were involved in product development and conducting business directly with various

 Arkansas-based entities and individuals in the process, as Plaintiffs assert in their

 Opposition (Doc. 78 at pp. 7-14). To wit, between May 2020 and September 2021,

 Messrs. Biondi, Oliver, and Cunningham sent and received numerous emails to and

 from Burgess Group and Walmart employees regarding the Aromatherapy Product

 at issue (and other GALA Group products). And as noted in Plaintiffs’ Opposition,


                                           [8]
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  Messrs. Oliver and Cunningham were each high-level employees of Defendant

  GALA during that timeframe (Doc. 78 at pp. 10-11). And as Mr. Biondi’s

  declaration sates, he was Defendant GALA’s President and CEO from August 17,

  2020 through March 31, 2023 (Doc. 90-1 at ¶ 2).

        Plaintiffs also note that the email correspondence attached hereto as Exhibits

  13 and 28 refute the claim in Mr. Biondi’s declaration that he first learned of or

  became involved with the Aromatherapy Product at issue on October 22, 2021 (Doc.

  90-1 at ¶ 7). As Exhibit 13 shows, on April 29, 2021—while Mr. Biondi was serving

  as CEO of Defendant GALA, and before he was appointed CEO of Flora—PS

  Suresh forwarded directly to Mr. Biondi an email from Burgess Group employee

  Candy Ward regarding Walmart’s addition of the Aromatherapy Product at issue to

  Walmart’s “.com OWNED inventory” and stated in the email: “FYI” (Ex. 13; Doc.

  90-1 at ¶ 2). As Exhibit 28 shows, on September 25, 2020—while serving as CEO

  of Defendant GALA, and before he was appointed CEO of Flora—Mr. Biondi

  received an email from Ms. Ward regarding revenue projections for the “BHG Test

  Program” that resulted in the development of the Aromatherapy Product at issue (Ex.

  28 at p. 1). In the September 25, 2020 email, Ms. Ward provided details regarding

  various scenarios for the BHG Test Program and attached for Mr. Biondi and the

  other email recipients a copy of the interactive spreadsheet that was used to generate

  the revenue projections for each scenarios (Ex. 28 at p. 1).


                                           [9]
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    Ex.    Bates Range          Description

     11    FC_00000001          5/5/20 emails to M. Oliver

     12    FC_00000002-005      Attachment to 5/5/2020 emails to M. Oliver

     13    FC_00000204-205      4/29/21 emails to G. Biondi

     14    FC_00000432-440      5/13/20 emails to M. Cunninham

     15    FC_00000441-471      Attachment to 5/13/20 emails to M. Cunninham

     16    FC_00000472-481      5/15/2020 emails to M. Cunninham

     17    FC_00000482-513      Attachment to 5/15/20 emails to M. Cunninham

     18    FC_00000556-565      5/18/20 emails to M. Cunningham

     19    FC_00000566-597      Attachment to 5/18/20 emails to M. Cunninham

     20    FC_00000854-860      7/24/20 emails to M. Oliver

     21    FC_00000861          Attachment to 7/24/20 emails to M. Oliver

     22    FC_00000862-870      7/27/20 emails to M. Oliver

     23    FC_00000910          8/4/20 Zoom invitation to M. Cunninham

     24    FC_00001046-1057     8/5/20 emails to M. Oliver

     25    FC_00007169          10/13/20 emails to M. Cunningham

     26    FC_00008191-8193     3/12/21 emails to M. Oliver

     27    FC_00008210-8214     3/12/21 emails to M. Oliver



                                        [10]
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        28       FC_00012081-12082       9/25/20 emails to M. Oliver

        29       FC_00012102-12103       9/21/21 emails to G. Biondi

        30       FC_00012214             6/21/21 emails to M. Cunninham

        31       FC_00012736-12379       8/3/21 emails to M. Oliver



  IV.        CONCLUSION

             The evidence submitted herewith, together with the evidence submitted with

  Plaintiffs’ Opposition to GALA’s Motion to Dismiss, demonstrates that GALA is

  subject to personal jurisdiction in this case. Specifically, the evidence now before

  the Court demonstrates that GALA played a role in the development, manufacture,

  and distribution of the Aromatherapy Product and demonstrates that GALA’s

  executives and other employees conducted significant business with Walmart in

  Arkansas prior to Wyatt Gibson’s death to provide an expanded lineup of fragrance

  products by leveraging production facilities operated by GALA, Ramesh, and other

  related entities. In sum, the evidence shows that GALA purposefully established

  minimum contacts with Arkansas that relate directly to Plaintiffs’ causes of action.

             For the reasons set forth herein and in Plaintiffs’ Opposition, and in light of

  the additional evidence attached hereto, Plaintiffs respectfully request that the Court

  DENY Defendant GALA’s Motion to Dismiss in its entirety. Alternatively,

  Plaintiffs’ respectfully request that the Court DEFER ruling on GALA’s request to


                                               [11]
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  dismiss for lack of personal jurisdiction pending the completion of narrowly tailored

  jurisdictional discovery and DENY the remainder of GALA’s Motion to Dismiss.




  Dated: November 1, 2023                 /s/ M. Alan Holcomb
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                                          Attorneys for Plaintiffs




                                          [12]
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                            CERTIFICATE OF SERVICE

        I, M. Alan Holcomb, certify and declare as follows:

        1.     I am over the age of 18 and not a party to this action.

        2.     My business address is 945 East Paces Ferry Rd NE, Atlanta, GA

  30326.

        3.     On November 1, 2023, I electronically filed the PLAINTIFFS’ SUR-

  REPLY TO GALA NORTH AMERICA INC.’S MOTION TO DISMISS AND

  MOTION TO STRIKE PLAINTIFFS’ FIRST AMENDED COMPLAINT with

  the Clerk of the Court for the United States District Court for the Western District

  of Arkansas by using the Court’s CM/ECF System.

        4.     Participants in this case who are registered CM/ECF users will be

  served by the Court’s CM/ECF system.

        I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct.

        This 1st day of November, 2023.


                                          /s/ M. Alan Holcomb
                                          M. Alan Holcomb




                                           [13]
